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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)

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  Alyson M. Fiedler, Esq. (AF-9058)
  Counsel for Arch Acquisition I, LLC

  In Re:
                                                     Case No. 08-14631 (gmb)
  Shapes/Arch Holdings L.L.C., et al.,               (jointly administered)
                                                     Judge: Hon. Gloria M. Burns
                               Debtors
                                                     Chapter 11



                     Recommended Form:              Followed        Modified


                            ORDER FOR ADMISSION PRO HAC VICE

         The relief set forth on the following pages, numbered two (2) through three (3) is
  hereby ORDERED:




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  _______________________________________________________________________




            This matter having been brought before the Court on application for an Order
  For Admission Pro Hac Vice; and the Court having reviewed the moving papers of the
  applicant, out-of-state attorney, and considered this matter pursuant to
  Fed.R.Civ.Proc. 78, D.N.J. L.Civ.R. 101.1 and D.N.J. LBR 2090-1, and good cause
  having been shown; it is
            ORDERED that Nancy A. Mitchell, Esquire, be permitted to appear pro hac
  vice; provided that pursuant to D.N.J. L.Civ. R. 101.1(4), an appearance as counsel of
  record shall be filed promptly by a member of the bar of this Court upon whom all
  notices, orders and pleadings may be served, and who shall promptly notify the out-of-
  state attorney of their receipt. Only an attorney at law of this Court may file papers, enter
  appearances for parties, sign stipulations, or sign and receive payments on judgments,
  decrees or orders, and it is further
            ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for
  Client Protection for payment of the annual fee, for this year and for any year in which
  the out-of-state attorney continues to represent a client in a matter pending in this Court
  in accordance with New Jersey Court Rule 1:28-2 and DNJ L. Civ. R. 101.1, said fee to
  be deposited within twenty (20) days of the date of the entry of this Order, and it is
  further

            ORDERED that the $150.00 fee required by D.N.J.L. Civ. R. 101(c)(3) for pro
  hac vice admission to the District Court for the District of New Jersey shall also be
  payable within twenty (20) days of entry of this Order. Payment in the form of a check
  must be payable to "Clerk, USDC" and forwarded to the Clerk of the United States
  Bankruptcy Court for the District of New Jersey at the following address, for forwarding
  by the Clerk to the District Court:




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  Case No.:   08-14631 (GMB)
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  _______________________________________________________________________



                              United States Bankruptcy Court
                                   District of New Jersey
                           Martin Luther King, Jr. Federal Building
                                      50 Walnut Street
                                    Newark, N.J. 07102
                            Attention: Pro Hac Vice Admissions;



          and it is further ORDERED that the applicant shall be bound by the Local
  Rules of the United States District Court for the District of New Jersey and the Local
  Rules of Bankruptcy Procedure for the District of New Jersey; and it is further


       ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New
  Jersey Lawyers' Fund for Client Protection within 5 days of its date of entry.




                              CERTIFICATE OF MAILING

          I HEREBY CERTIFY that I served a copy of this Order on the applicant and
  the Treasurer of the New Jersey Lawyers' Fund for Client Protection, Richard J.
  Hughes Justice Complex, P.O. Box 961, Trenton, NJ 08625-0961 on________________ ,
  20____ .



                                                       JAMES J. WALDRON, Clerk




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